                      IN THE UNITED STATED DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

CHRISTEL WARD                                        )
     Plaintiff,                                      )
                                                     )      Case No.: 2-17-0047
vs.                                                  )      Judge Waverly D. Crenshaw, Jr.
                                                     )      Magistrate Judge Joe Brown
SHERIFF ODDIE SHOUPE, et al.,                        )      JURY DEMANDED
     Defendants.                                     )


                  AGREED ORDER OF DISMISSAL WITH PREJUDICE


        Plaintiff Christel Ward and Defendants Oddie Shoupe, Donna Daniels, Sam Benningfield

and White County, Tennessee advise the Court that all claims brought by Plaintiff have been

compromised and settled. These parties agree that this case should be dismissed with prejudice.

        IT IS THEREFORE ORDERED, ADJUDGED & DECREED that this action is

dismissed with prejudice. The parties are responsible for their own costs, fees and expenses.




                                                     ___________________________________
                                                     Waverly D. Crenshaw, Jr.
                                                     Chief United States District Judge




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